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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

UNITED STATES OF AMERICA                  )
                                          )
               v.                         )
                                          )
JOSE R. HODGE,                            )                  Criminal No. 2016-0009
                                          )
                      Defendant.          )
__________________________________________)
Attorneys:
Alphonso G. Andrews, Jr., Esq.,
St. Croix, U.S.V.I.
        For the United States

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        For Defendant Jose R. Hodge

                         MEMORANDUM OPINION AND ORDER

Lewis, Chief Judge

       THIS MATTER comes before the Court on Defendant “Jose Hodge’s Motion to Exclude

Events Nos. 2 & 3,” filed on May 21, 2017. (Dkt. No. 875). In his Motion, Hodge seeks to exclude

Events 2 and 3 of Count 1 of the Superseding Indictment on the ground that “these events are

improper bad acts and they do not bear a sufficient nexus to the charges in the Superseding

Indictment.” (Id. at 1). For the reasons that follow, the Court will deny the Motion.

                               I.     PROCEDURAL HISTORY

       Defendant Hodge is one of six Defendants who are charged in a seven-count indictment in

which the Government charges the Defendants with conspiracy to possess controlled substances

(cocaine powder and marijuana) with intent to distribute, possession of cocaine with attempt to

distribute, and attempted possession of cocaine with intent to distribute. (Dkt. No. 190). Defendant

Hodge is also charged with bulk cash smuggling. (Id. at 10). These charges are based on allegations
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that, between January 2012 and December 2015, the Defendants conspired and agreed with one

another, and others, to possess cocaine powder and distribute it, and that some of the defendants

travelled by boat south of St. Croix to effect the mid-sea retrieval of cocaine, returned to St. Croix

with the drugs, and transshipped them to Puerto Rico.

        Count 1 of the Superseding Indictment—Conspiracy to Possess Controlled Substance With

Intent to Distribute—sets forth a number of “Events” which describe alleged acts in furtherance of

the conspiracy. (Dkt. No. 190). Pertinent to the instant Motion, Event No. 2 of Count 1—captioned

“August 2014 Unseized Shipment of 35 Kilos of Cocaine at Altona Lagoon”—alleges the

following:

        On August 31, 2014, 35 kilograms of Cocaine were imported into St. Croix and
        off-loaded at Gallows bay ramp. The operation was organized by QUINONES-
        DAVILA, HODGE and others.

(Dkt. No. 181-1 at 5). Event No. 3 of Count 1—captioned “October 2014 Unseized Shipment of

71 Kilos of Cocaine at Altona Lagoon and Seizure of $400,000 in Puerto Rico”—alleges the

following:

        On October 10, 2014, CRUZ-ALBERT, Anibal VEGA-ARIZMENDI and another
        individual retrieved a 71 kilogram load of cocaine at sea. The drugs were imported
        into St. Croix and delivered to HODGE’s residence. It was subsequently flown to
        Puerto Rico by CRUZ-VELEZ. On October 21, 2014, law enforcement seized
        $400,000 in United States Currency, which represented drug proceeds, from
        CRUZ-VELEZ in Puerto Rico.

(Id. at 6).

        In his Motion to Exclude, Hodge asserts that Events 2 and 3 have an insufficient nexus to

the charges in the Superseding Indictment; they are “nothing less tha[n] an attempt to introduce

prior bad acts before the jury,” in violation of the dictates of Fed. R. Evid. 404(b); there is “no

proper purpose” for the introduction of the evidence under Rule 404(b); Events 2 and 3 are not




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related, or relevant, to any of the charges in the Superseding Indictment; and the probative value

of Events 2 and 3 is outweighed by the potential for unfair prejudice. (Dkt. No. 875).

                                        II.      DISCUSSION

       Federal Rule of Evidence 404(b)—entitled “Crimes, Wrongs, or Other Acts”—provides,

in pertinent part:

   (1) Prohibited Uses. Evidence of a crime, wrong, or other act is not admissible to prove
       a person’s character in order to show that on a particular occasion the person acted
       in accordance with the character.

Fed. R. Evid. 404(b)(1). Evidence is not subject to a Rule 404(b) analysis if it is “intrinsic”

evidence—i.e., it ‘“directly proves’ the charged offense.” United States v. Green, 617 F.3d 233,

249 (3d Cir. 2010) (quoting United States v. Cross, 308 F.3d 308, 320 (3d Cir. 2002)); see United

States v. Bowie, 232 F.3d 923, 929 (3d Cir. 2000) (acknowledging that evidence of “an act that is

part of the charged offense. . . is properly considered intrinsic.”). Case law is clear that

       where the incident offered is a part of the conspiracy alleged in the indictment, the
       evidence is admissible . . . because it is not an ‘other’ crime. The evidence is offered
       as direct evidence of the fact in issue, not as circumstantial evidence requiring an
       inference as to the character of the accused. Such proof. . . may be extremely
       prejudicial to the defendant but the court would have no discretion to exclude it
       because it is proof of the ultimate issue in the case.

United States v. Nelson, 372 F. App’x 289, 292 (3d Cir. 2010) (quoting 22 Charles A. Wright &

Kenneth W. Graham, Jr., Federal Practice & Procedure § 5329, at 450-51 (1978)).

       Hodge is charged, inter alia, with conspiracy to possess a controlled substance with intent

to distribute. Event 2 alleges that Hodge was involved in the importation of 35 kilograms of

cocaine into St. Croix on August 31, 2014. Event 3 alleges that 71 kilograms of cocaine retrieved

at sea on October 10, 2014 were imported into St. Croix, delivered to Hodge’s residence, and

subsequently flown to Puerto Rico. In addition, Event 3 alleges that $400,000 was seized from an




                                                    3
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alleged co-conspirator in Puerto Rico less than two weeks after the cocaine was retrieved at sea on

October 10th.

       These events, which describe alleged acts in furtherance of the conspiracy, “directly

prove[] the charged offense” of conspiracy to possess and distribute cocaine. Green, 617 F.3d at

249. As a result, Events 2 and 3 constitute intrinsic evidence, and are not subject to the

requirements of Rule 404(b). Id. Moreover, as direct proof of the ultimate issue, the Events are

relevant to the charged offense and are of high probative value. While such evidence may be—

and undoubtedly is—prejudicial to Hodge, it is not “unfairly prejudicial.” In any event, the

evidence survives the Rule 403 balancing test because the high probative value of the evidence is

not “substantially outweighed” by any danger of “unfair prejudice.” Fed. R. Evid. 403.

Accordingly, Hodge’s arguments in support of the exclusion of Events 2 and 3 are rejected and his

Motion will be denied.

                                         III.    ORDER

       For the reasons set forth above, it is hereby

       ORDERED that Defendant Hodge’s Motion to Exclude Event Nos. 2 and 3 (Dkt. No. 875)

is DENIED.

       SO ORDERED.

Date: May 26, 2017                                          _______/s/_______
                                                            WILMA A. LEWIS
                                                            Chief Judge




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